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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 UNITED STATES OF AMERICA,           §
                                     §
                Plaintiff,           §
                                     §
 v.                                  §                 Civil Action No. 3:20-CV-985-L
                                     §
 PURITY HEALTH AND WELLNESS          §
 CENTERS, INC., a Wyoming            §
 Corporation; JEAN JUANITA ALLEN, an §
 Individual,                         §
                                     §
                Defendants.          §


                                            ORDER

       Before the court is the parties’ Agreed Motion for Entry of Judgment of Permanent

Injunction (Doc. 7), filed April 22, 2020. The United States of America (“Government”) has filed

a Complaint to prevent Purity Health and Wellness Centers, Inc. and Jean Juanita Allen

(“Defendants”) from continuing to make representations and statements about treating COVID-19

that the Government alleges are untrue. While Defendants do not in any way admit that they

committed fraud, Defendants acknowledge that the public interest in preventing the

representations and statements from being made is strong, and agree to the entry of a permanent

injunction that: (1) bars them from making any representations or statements that “ozone therapy”

may be used to treat, cure, prevent, or otherwise mitigate the impact of the novel coronavirus or

COVID-19; and (2) requires them to remove, delete, take down, and cease making any such

representations or statements regarding “ozone therapy,” including, but not limited to, posts on

Defendants’ Instagram account operating under the name “purityhealthdallas.”

       The court determines, pursuant to Federal Rule of Civil Procedure 65 and applicable

Supreme Court and Fifth Circuit authority, all factors to grant a permanent injunction have been


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established. Accordingly, the court grants the parties’ Agreed Motion for Entry of Judgment of

Permanent Injunction; and will enter judgment by separate document, as required by Federal Rule

of Civil Procedure 58, in favor of the United States of America and against Defendants Purity

Health and Wellness Centers, Inc. and Jean Juanita Allen, as agreed to by the parties.

       It is so ordered this 23rd day of April, 2020.



                                                     _________________________________
                                                     Sam A. Lindsay
                                                     United States District Judge




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